      Case 7:23-cv-00318-RSB-CKM         Document 37       Filed 01/22/24    Page 1 of 1
                                        Pageid#: 655


                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                           ROANOKE DIVISION


                                                        Action No: 7:23cv318
United States of America                                Date: 1/22/2024
vs.                                                     Judge: Robert S. Ballou
                                                        Court Reporter: Beth Krupa
A&G Coal Corp., et al
                                                        Deputy Clerk: K. Anglim



Plaintiff Attorney(s)                           Defendant Attorney(s)
Michael Robertson                               Aaron Houchens
Clare Boronow
Krista Frith



PROCEEDINGS:
Parties present by counsel via zoom for oral argument on Plaintiff’s Motion for Summary
Judgment (dkt 32) and Defendants’ Motion to Summary Judgment (dkt. 34)
Argument, Objections, Rebuttal as reflected in the record.
Judge to take argument under advisement and rule in near future.


Time in Court: 2:00 – 2:22; 22m
